                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                     *

       v.                                    *   Criminal No.: 1:19-CR-00438-RDB-1

JAMIE CLEMONS                                *

*      *       *      *       *       *      *       *       *      *       *     *    *

                    MOTION TO SET CONDITIONS OF RELEASE

       Now comes Jamie Clemons, Defendant, by Howard L. Cardin and Cardin &

Gitomer, P.A. and David N. Mabrey, his attorneys, and moves this Honorable Court pass

an Order setting this matter for Hearing and thereafter setting appropriate conditions of

release. Counsel submits the following:

       1. That the Defendant is being detained at the Correctional Treatment Facility,

Washington, D.C. and being denied conditions of release.

       2. That the Covid-19 pandemic has spread to the facility in Washington, D.C.

thereby placing all inmates in jeopardy of contracting this contagious disease.

       3. That the mental as well as the physical health of the Defendant is being

compromised.

       4.   That the Defendant is a lifetime resident of the Anne Arundel County

Metropolitan area (Pasadena, Maryland) and is not a risk of flight. In fact, his entire

family lives in the Anne Arundel County area.

       5. That the Defendant can be released on 24-hour lockdown home detention which

would satisfy any concern about he being a danger to the community.

       WHEREFORE, Jamie Clemons, by Howard L. Cardin and Cardin & Gitomer,

P.A., and David N. Mabrey, his attorneys and requests that Jamie Clemons be released on
24-hour lockdown home detention or that an immediate Hearing be held to consider this

request.



                                                             /S/
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                                                   Attorneys for Defendant



                             CERTIFICATE OF MAILING

       I hereby certify that on this 30th day of March, 2020, I filed the above

electronically with the Clerk of the United States District Court using CM/ECF with copies

to all counsel of record.


                                                            /S/
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                                                   HOWARD L. CARDIN
